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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                    )
                Plaintiff,                   )
                                             )
               v.                            )       Civil Action No.: 19-11924-LTS
                                             )
$36,000 IN UNITED STATES                     )
CURRENCY SEIZED                              )
AT LOGAN AIRPORT,                            )
                   Defendant.                )
                                             )
MOHAMED SALAH,                               )
                       Claimant.             )
                                             )

                    FINAL JUDGMENT AND ORDER OF FORFEITURE

SOROKIN, D.J.

       This Court having allowed the Parties’ Joint Motion for Final Judgment and Order of

Forfeiture, it is hereby ORDERED, ADJUDGED and DECREED:

       1.      Judgment by agreement of the Parties is hereby entered (1) for the forfeiture of

$32,400 (the “Forfeited Currency”) to the United States, pursuant to 21 U.S.C. § 881(a)(6); and

(2) the release of $3,600 (the “Released Currency”) to the Mohamed Salah (the “Claimant”), via

the United States Marshals Service, as set forth in the Settlement Agreement entered into

between the Parties.

       2.      The Forfeited Currency shall be disposed of by the United States Marshals

Service, pursuant to the provisions of the Settlement Agreement entered into between the Parties,

and applicable law.

       3.      The Released Currency shall be returned to Claimant by the United States

Marshals Service, pursuant to the provisions of the Settlement Agreement entered into between

the Parties, and applicable law.
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        4.      Any claim of interest of any other parties claiming any right, title, or interest in or

to the Forfeited Currency and/or the Released Currency is hereby held in default and dismissed.

        5.      This Court shall retain jurisdiction in this case solely for the purpose of enforcing

the terms of this Judgment.     Otherwise, this Order shall be, and hereby is, the full and final

disposition of this civil forfeiture action.

        DONE and ORDERED in Boston, Massachusetts, this 10thday of January                   , 2020.



                                                         /s/ Leo T. Sorokin
                                                       LEO T. SOROKIN
                                                       United States District Judge




                                                   2
